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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



       v.                                             Criminal Action No. 21-175-3 (TJK)

ZACHARY REHL,

               Defendant.



                          MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Zachary Rehl’s motion to dismiss the indictment and for an

evidentiary hearing. ECF No. 694. He argues that the Government violated his Sixth Amendment

rights when FBI agents reviewed communications with his former attorney over the email system

maintained and monitored by the Bureau of Prisons. The Government opposes the motion, arguing

Rehl waived attorney-client privilege over these messages. On the record before it, the Court

agrees that Rehl knowingly waived any claim to privilege over these communications. Thus, the

Court will deny Rehl’s motions to dismiss and for an evidentiary hearing.

I.     Background

       Rehl’s dispute arises out of the Government’s disclosure of certain communications

Special Agent Nicole Miller received from other, nontestifying agents over the FBI’s Lync

messaging system. The Government inadvertently produced these statements to the defense as

part of Special Agent Miller’s Jencks production. Counsel for Defendant Ethan Nordean revealed

his discovery of this oversight at the start of his cross-examination of Special Agent Miller, and a

cacophony of argument, briefing, and a limited examination of Special Agent Miller outside the

jury’s presence ensued.
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       Through the din, Rehl points to messages Special Agent Miller received from a Special

Agent Wang, in which he summarizes communications he reviewed between Rehl and his former

counsel, Jonathan Moseley. Special Agent Wang wrote:




ECF No. 694 at 2.

       The FBI obtained the emails Special Agent Wang referenced as part of the Philadelphia

Federal Detention Center’s production of Rehl’s communications over the facility’s Trust Fund

Limited Computer Systems (“TRULINCS”). All Bureau of Prisons facilities use TRULINCS to

provide inmates access to, among other things, an electronic messaging system. See ECF No. 709-

1 at 1 ¶ 3 (“Gallagher Decl.”). To use the messaging system, inmates must first consent to

“monitoring and information retrieval for law enforcement and other purposes.” ECF No. 709-3

(emphasis added); see also Gallagher Decl. ¶ 4. They must further acknowledge that such consent

“applies to electronic messages both to and from [their] attorney or other legal representative, and

that such messages will not be treated as privileged, and that [they] have alternative methods of

conducting privileged legal communication.” ECF No. 709-3. Furthermore, when members of



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the public receive an invitation to communicate electronically with an inmate, they are notified,

“By approving electronic correspondence with federal prisoners, you consent to have the Bureau

of Prisons staff monitor the content of all electronic messages exchanged.” ECF No. 709-5.

       The Government, through “filter” attorneys who are not members of the trial team, has

provided these communications to the Court for its review.1 Many reflect Rehl’s awareness that

his TRULINCS communications were monitored. See ECF No. 709-7 (telling others, “[T]hey

monitor all my emails”; “[T]hey monitor these emails like crazy”).         More than that, the

communications reflect that both Rehl and Moseley expected prosecutors would read them. ECF

No. 711-1 at 14, 33. TRULINCS does “provide[] for designating a contact as an attorney,” ECF

No. 694 at 3, but the system manual reflects that an attorney may be so designated only “with the

acknowledgment that public emails exchanged with such individuals will not be treated as

privileged communications and will be subject to monitoring,” ECF No. 709-4 at 134.

       Still, in his motion, Rehl argues that FBI agents’ review of his communications with

Moseley over TRULINCS intruded upon the attorney-client relationship, thereby violating his

Sixth Amendment and Due Process rights. See ECF No. 694. He therefore moves the Court to

dismiss the charges against him. In opposition, the Government counters that Rehl waived

attorney-client privilege over his TRULINCS messages with Moseley, foreclosing any

constitutional challenge. See ECF No. 709 at 3–6. Alternatively, assuming the communications

were privileged, the Government argues Rehl has not suffered the requisite prejudice to prove a




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 In response to Rehl’s motion, the Government appointed a “filter” team to review the relevant
TRULINCS production, and it uncovered 16 email threads between Rehl and Moseley. ECF No.
711-1 at 1 n.1. The Government asserts that no prosecutor on the trial team has reviewed the
communications at issue. ECF No. 709 at 2 n.2.
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Sixth Amendment violation. See id. at 6–12. Along with the parties’ filings, the Court has

reviewed the Government’s supplemental opposition, submitted by the “filter” attorneys.

II.    Analysis

       Although the attorney-client privilege “has not been elevated to the level of a constitutional

right,” courts have long acknowledged it “is key to the constitutional guarantees of the right to

effective assistance of counsel and a fair trial.” United States v. Neill, 952 F. Supp. 834, 839

(D.D.C. 1997) (citing Coplon v. United States, 191 F.2d 749, 757 (D.C. Cir. 1951)). Government

intrusion into privileged communications compromises defense counsel’s “ab[ility] to

communicate freely without fear that his or her advice and legal strategy will be seized and used

against the client” and raises “substantial questions of fundamental fairness.” Id. Drawing on the

Supreme Court’s decision in Weatherford v. Bursey, 429 U.S. 545 (1977), the D.C. Circuit has

recognized that invading the attorney-client privilege may give rise to a Sixth Amendment

violation. See United States v. Kelly, 790 F.2d 130, 136–38 (D.C. Cir. 1986).

       But where there is no privilege, there can be no intrusion. See United States v. Singhal,

800 F. Supp. 2d 12, 15 (D.D.C. 2010) (holding that the government did not violate the defendant’s

Sixth Amendment rights because the attorney-client communications it obtained “[fell] outside the

category of communications to which the privilege applies”); see also United States v. Chandler,

56 F.4th 27, 40 (2d Cir. 2022); United States v. Hamilton, 19 F.3d 350, 352–53 (7th Cir. 1994).

“Any voluntary disclosure by the client to a third party breaches the confidentiality of the attorney-

client relationship and therefore waives the privilege.” In re Sealed Case, 676 F.2d 793, 809 (D.C.

Cir. 1982); see United States v. Philip Morris Inc., 212 F.R.D. 421, 424 (D.D.C. 2002) (“To

preserve the [attorney-client] privilege, the holder must ‘zealously protect the privileged materials,




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taking all reasonable steps to protect their disclosure.’” (quoting In re Sealed Case, 877 F.2d 976,

980 (D.C. Cir. 1989)).

        Thus, courts in this district have held that, for emails sent over a third party’s server, “the

question of privilege comes down to whether the intent to communicate in confidence was

objectively reasonable.” Doe I v. George Washington Univ., 480 F. Supp. 3d 224, 226 (D.D.C.

2020) (quoting Convertino v. U.S. Dep’t of Justice, 674 F. Supp. 2d 97, 110 (D.D.C. 2009)). And

as for communications by incarcerated defendants, several circuits have “decided that, where an

inmate is aware that his or her calls are being recorded, those calls are not protected by a privilege.”

United States v. Mejia, 655 F.3d 126, 133 (2d Cir. 2011) (citing United States v. Hatcher, 323 F.3d

666, 674 (8th Cir. 2003)); see also United States v. Madoch, 149 F.3d 596, 602 (7th Cir. 1998)

(holding that the marital-communications privilege did not protect conversations with an

incarcerated spouse because the couple should have anticipated monitoring or eavesdropping).

        A.      Rehl Waived Attorney-Client Privilege

        To begin, Rehl has not attempted to meet his burden to show that any of the messages the

Government obtained from TRULINCS were privileged. See In re Sealed Case, 737 F.2d 94, 99

(D.C. Cir. 1984) (“It [is] the claimant’s burden . . . to present to the court sufficient facts to establish

the privilege.”); see also Singhal, 800 F. Supp. 2d at 15 (noting that “not all communications

between a lawyer and client are privileged” and citing requirements to show privilege (citing In re

Sealed Case, 737 F.2d at 98–99)). Instead, he seems to assume the privilege applies, noting only

that a message Special Agent Wang purportedly read “involve[d] ‘trial strategy’” because it

“indicate[d] that [Rehl and Moseley] want[ed] to go to trial.” See ECF No. 694 at 1–2.

        But even assuming the attorney-client privilege would have protected the content of Rehl’s

TRULINCS communications with Moseley, on the record here, the Court finds that Rehl waived



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the privilege. Not only was Rehl “aware that his [messages were] being recorded,” see Mejia, 655

F.3d at 133, but the undisputed record reflects his consent to “monitoring and information retrieval

for law enforcement . . . purposes,” ECF No. 709-3 (emphasis added); see also Gallagher Decl.

¶ 4. Indeed, it also reflects Rehl’s belief that the prosecutors themselves would be reading his

TRULINCS messages. See ECF No. 711-1 at 14, 33. And if doubt remained whether any “intent

to communicate in confidence [could have been] objectively reasonable,” Doe I, 480 F. Supp. 3d

at 226, Rehl’s express acknowledgment that his consent “applie[d] to electronic messages both to

and from [his] attorney . . . and that such messages [would] not be treated as privileged” places the

matter beyond dispute. See ECF No. 709-3.

       On this record, it is hardly surprising that this Court is not alone in concluding that

defendants who communicate with their counsel over TRULINCS waive any attorney-client

privilege over those communications. See, e.g., United States v. Walia, No. 14-cr-213 (MKB),

2014 WL 3734522, at *16 (E.D.N.Y. July 25, 2014); United States v. Asaro, No. 14-cr-26 (ARR),

2014 WL 12828985, at *1 n.1 (E.D.N.Y. July 17, 2014); Aciero v. Holder, No. 14-cv-506 (LEK-

BMK), 2015 WL 5769223, at *4 (D. Hawaii 2015); Fed’l Trade Comm’n v. Nat’l Urological Grp.,

Inc., No. 04-cv-3294 (CAP), 2015 WL 13687741, at *2 (N.D. Ga. 2015). And while the Court

regrets that TRULINCS places such a convenient means of communicating beyond the reach of

privilege, that shortcoming “does not change the fact that, here, [Rehl has] waived the attorney-

client privilege.” Aciero, 2015 WL 5769223, at *6.

       Rehl fails to respond to the Government’s waiver argument. In his initial motion, Rehl

asserted that, on the then-existing record, the Government offered no “sworn declarations by BOP

officials” or “evidence that he in fact read or accepted . . . a condition” that his TRULINCS

communications would be “subject to monitoring and retention.” ECF No. 694 at 3. He also



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asserted that the TRULINCS system, unlike cases involving jail calls, did not notify users that the

messages were being monitored, and the evidence “undermine[d] any argument that Mr. Moseley

and Mr. Rehl were on notice.” See id. at 4. The Government’s opposition to his motion, including

the messages sent between Moseley and Rehl and other supporting evidence, thoroughly debunks

these claims. Rehl never replied to contend otherwise.

       In his motion, Rehl did point out that Moseley labeled some of his emails to Rehl attorney-

client privileged. See ECF No. 694 at 3–4; ECF No. 711-1 at 8, 12, 24, 26, 31. But magic words

alone will not do. The standard is whether the “intent to communicate in confidence was

objectively reasonable.” Doe I, 480 F. Supp. 3d at 226; cf. Singhal, 800 F. Supp. 2d at 17 (finding

email communications were not attorney-client privileged despite the subject line “Attorney Client

Confidential”). The record reflects that even Moseley believed that his communications with Rehl

were not confidential, and that he so informed Rehl. See, e.g., ECF No. 711-1 at 12 (“I assume

that these communications are monitored.”). On this record, neither Rehl nor Moseley could have

had an objectively reasonable intent to communicate in confidence.

       Thus, Rehl’s waiver of the attorney-client privilege dooms his Sixth Amendment

challenge. See Singhal, 800 F. Supp. 2d at 15; see also Chandler, 56 F.4th at 40 (rejecting a Sixth

Amendment challenge in part because statements the defendant communicated to a third party “of

his own volition, in disregard of the confidentiality required to maintain attorney-client privilege”

were “by definition not privileged and [could not] be used to establish an ‘invasion’ of the attorney-

client relationship attributable to the government”); Hamilton, 19 F.3d at 352–53 (rejecting a Sixth

Amendment challenge where the government learned about the defendant’s trial strategy from his

cellmate because “regardless of whether [the defendant] could demonstrate that the information .




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. . was [attorney-client] privileged, [defendant] waived any such privilege when he voluntarily

disclosed the confidential information to his cellmate”).

       The Court also notes that even if Rehl had not waived the privilege, his Sixth Amendment

challenge would likely still fall short, at least on this record. Four factors inform whether

government intrusion on the attorney-client privilege contravenes the Sixth Amendment: “(1)

whether evidence to be used at trial was obtained directly or indirectly by the government

intrusion; (2) whether the intrusion was intentional; (3) whether the prosecution received otherwise

confidential information about trial preparation or defense strategy as a result of the intrusion; and

(4) whether the privileged information was used or will be used to the substantial detriment of the

defendants.” Neill, 952 F. Supp. at 840 (citing Weatherford, 429 U.S. at 558; Kelly, 790 F.2d at

137). Although the weight courts should afford each factor remains unresolved, “it is clear that

there must [be] a substantial demonstration of prejudice before an indictment can be dismissed.”

Id.

       To show prejudice, Rehl claims only that “the government [apparently] used information

related in Mr. Moseley’s email to Mr. Rehl (10/5/21 at 9:18 am) in opposing Mr. Rehl’s release

from pretrial detention.” ECF No. 694 at 8. Not so. In this email, Moseley proposed setting up a

fundraising page to support law enforcement. See ECF No. 709 at 10–11; ECF No. 711-1 at 8.

He discussed the same fundraiser in a filing in support of his first motion to reopen Rehl’s pretrial

detention hearing on October 6, 2021. ECF No. 198 ¶ 12. The very next day, the Government

researched the fundraiser’s website. See ECF No. 709-8 & 709-9. It then used its search results

in its opposition to pretrial release, which it filed on October 15, 2021. See ECF No. 210 at 12 &

210-1. But it does not appear that the detention facility provided the TRULICS production at issue

to the Government until October 21, 2021—after it opposed Rehl’s motion. See, e.g., ECF No.



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711-1 at 8 (date and time stamp reading 10/21/2021, 11:36 AM). Simply put, the record appears

to foreclose any possibility that the Government used Moseley’s email to Rehl to oppose his

pretrial release.2

        B.      No Evidentiary Hearing Is Required

        Finally, the Court sees no reason to hold an evidentiary hearing. On the waiver issue, the

Government responded to Rehl’s motion with the very evidence he requested: “sworn declarations

by BOP officials [and] . . . evidence that [Rehl] in fact read [and] accepted” monitoring of his

messages to Moseley. See ECF No. 694 at 3. Rehl never replied to challenge the Government’s

evidence or otherwise argue it did not support a finding of waiver. For the reasons described

above, the Court finds that on this record, further factual development on the waiver issue is

unnecessary. And as the Court has already explained, a finding of waiver alone forecloses Rehl’s

Sixth Amendment challenge without further inquiry into the Government’s use (or lack thereof)

of these emails. So the Court will deny Rehl’s request for an evidentiary hearing. Cf. United

States v. Strothers, 77 F.3d 1389, 1394 n.8 (D.C. Cir. 1996) (court’s decision to forgo an

evidentiary hearing was “no[t an] abuse of discretion” because there was “no indication [of] any




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  Rehl’s remaining arguments are meritless. He takes a passing shot at a Fifth Amendment Due
Process claim, suggesting the Government’s conduct here “shocks the conscience.” See ECF No.
694 at 9. Alternatively, he invokes the Court’s inherent “supervisory powers” to impose sanctions,
including dismissal, for government misconduct that falls short of a Fifth Amendment violation.
See id. But for all the same reasons discussed above, the record lacks any basis to conclude that
the Government committed misconduct here—no less misconduct so severe to warrant dismissal
of the case against Rehl. Nor is there any basis to conclude the Government “likely violated”
Federal Rule of Criminal Procedure 17(c). See id. at 10. The Government obtained the materials
at issue via an administrative request, so Rule 17 is inapplicable. See ECF No. 709 at 13 n.7. And
because there is no evidence of misconduct to speak of, the Government did not “conceal[ ]” such
misconduct in violation of its Brady obligations or the Jencks Act. See ECF No. 694 at 13.


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dispute over [material] facts . . . that the court could not resolve without a full evidentiary hearing.”

(cleaned up)).3

III.    Conclusion and Order

        For all these reasons, it is hereby ORDERED that Rehl’s Motion to Dismiss the Indictment

and for an Evidentiary Hearing, ECF No. 694, is DENIED.

        SO ORDERED.

                                                                /s/ Timothy J. Kelly
                                                                TIMOTHY J. KELLY
                                                                United States District Judge

Date: April 3, 2023




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  Because the Court finds that Rehl waived the privilege, it has no cause to “require the government
to explain by affidavit or sworn declarations how it obtained these emails and what the FBI agents
did after reviewing [them].” ECF No. 694 at 13. In any event, though, the Court notes that Rehl
offers neither argument nor evidence—beyond his point about the fundraiser—suggesting any
possibility of prejudice. For example, he identifies no other revelation about trial strategy that
might plausibly support a claim for prejudice. And upon its own review of the messages at issue—
coupled with Rehl’s ascertainment of new counsel a year before trial—the Court can see none.
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